        Case 1:24-mj-04375-UA          Document 13       Filed 02/12/25     Page 1 of 2




UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

 UNITED STATES OF AMERICA                                Affirmation in Support of
                                                         Application for Order of
                       v.                                Continuance

 LUIGI NICHOLAS MANGIONE,                                 24 Mag. 4375

                                     Defendant.


State of New York                            )
County of New York                           : ss.:
Southern District of New York                )

       Dominic A. Gentile, pursuant to Title 28, United States Code, Section 1746, hereby

declares under penalty of perjury:

       1.      I am an Assistant United States Attorney in the Office of Danielle R. Sassoon,

United States Attorney for the Southern District of New York. I submit this affirmation in support

of an application for an order of continuance of the time within which a preliminary hearing would

have to be conducted or an indictment or information would have to be filed, pursuant to Rule

5.1(d) of the Federal Rules of Criminal Procedure and 18 U.S.C. § 3161(h)(7)(A).

       2.      The defendant was charged in a complaint dated December 18, 2024, with

violations of 18 U.S.C. §§ 2261A(1)(A), 2261A(2)A), 2261(b)(1), 924(j), and 924(c). The

defendant was arrested on December 19, 2024, and was presented in this District before Magistrate

Judge Katharine H. Parker on that same date, at which proceeding the defendant was represented

by Karen Friedman Agnifilo, Esq. and Marc Agnifilo, Esq., and ordered detained pending trial

without prejudice to making a future bail application.

       3.      At the presentment, a preliminary hearing was scheduled for January 18, 2025,

pursuant to Rule 5.1(c) of the Federal Rules of Criminal Procedure. Therefore, under the Speedy
        Case 1:24-mj-04375-UA           Document 13       Filed 02/12/25        Page 2 of 2




Trial Act, the Government had until January 18, 2025 within which to file an indictment or

information. See 18 U.S.C. § 3161(b).

       4.      On January 6, 2025, Magistrate Judge Barbara C. Moses entered an Order of

Continuance, pursuant to Rule 5.1(d) and 18 U.S.C. § 3161(h)(7)(A), extending the time within

which a preliminary hearing would have to be conducted or an indictment or information would

have to be filed in this case until February 17, 2025.

       5.      Given the nature of the prosecution and the complexity of the case, the parties

jointly seek an additional continuance of the preliminary hearing date to adequately prepare for

pretrial proceedings and the trial itself. See 18 U.S.C. § 3161(h)(7)(B)(ii).

       6.      Therefore, the parties request a 30-day continuance until March 19, 2025. On

February 11, 2025, I personally corresponded with defense counsel, who stated that the defendant

consents to an extension of the preliminary hearing and Speedy Trial Act deadlines to March 19,

2025, and has specifically consented to this request. Andrew Dember, Deputy Chief of the

Criminal Division, has approved this application.

       7.      For the reasons stated above, good cause supports the extension of the preliminary

hearing deadline, and the ends of justice served by the granting of the requested continuance

outweigh the best interests of the public and defendant in a speedy trial.

Dated: New York, New York
       February 12, 2025

                                              __________________________
                                              Dominic A. Gentile
                                              Jun Xiang
                                              Alexandra Messiter
                                              Thomas Wright
                                              Assistant United States Attorneys
                                              212-637-2567 / 2289 / 2544 / 2295

                                                 2
